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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                          *    CRIMINAL NO. 13–0259-03


 VERSUS                                            *    JUDGE ROBERT G. JAMES


 HENRY RUSSELL HAM                                 *    MAG. JUDGE KAREN L. HAYES

                 REPORT AND RECOMMENDATION ON
 FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for waiver of

indictment, administration of Guilty Plea, and Allocution under Rule 11 of the Federal Rules of

Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a plea hearing and

allocution of the defendant, Henry Russell Ham, on October 15, 2013. Defendant was present

with his counsel, Mr. Bob Noel.

       After said hearing, it is the finding of the undersigned that the Defendant is fully

competent, that his waiver of indictment and plea of guilty are knowing and voluntary, and his

guilty plea to Count One of the Bill of Information is fully supported by a written factual basis

for each of the essential elements of the offense. Therefore,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

Defendant, Henry Russell Ham, in accordance with the terms of the plea agreement filed in the

record of these proceedings, and that Henry Russell Ham be finally adjudged guilty of the offense

charged in Count One of the Bill of Information.
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        Under the provisions of 28 U.S.C. §636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

have fourteen (14) days from service of this Report and Recommendation to file specific,

written objections with the Clerk of Court. A party may respond to another party’s objections

within fourteen (14) days after being served with a copy thereof. A courtesy copy of any

objection or response or request for extension of time shall be furnished to the District Judge at

the time of filing. Timely objections will be considered by the District Judge before he makes a

final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN FOURTEEN (14) DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED in chambers, at Monroe, Louisiana, this 15th day of October

2013.




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